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Approved: eo Yee _-

SAM ADELSBERG / JAMEE-BAGLIEBTER
Assistant United States Attorneys

Before: THE HONORABLE LISA MARGARET SMITH
United States Magistrate Judge
Southern District of New York

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COMPLAINT (Sm \ (OS |
UNITED STATES OF AMERICA
: Violation of
nt a : 18 U.S.C.

§§ 1201 & 2

ARON ROSNER, a/k/a “AARON :
ROSNER, ” : COUNTY OF OFFENSE:

SULLIVAN COUNTY
Defendant.

ee:

SOUTHERN DISTRICT OF NEW YORK, SS.:

JONATHAN LANE, being duly sworn, deposes and says that
he is a Special Agent with the Federal Bureau of Investigation
(“FBI”), and charges as follows:

 

COUNT ONE
(Kidnapping)

1, From on or about December 8, 2018 through on or
about December 24, 2018, in the Southern District of New York
and elsewhere, ARON ROSNER, a/k/a “Aaron Rosner,” the defendant,
together with others known and unknown, unlawfully seized,
confined, inveigled, decoyed, kidnaped, abducted and carried
away and held for ransom and reward and otherwise, a person when
the person was willfully transported in interstate and foreign
commerce, and the defendants traveled in interstate or foreign
commerce and used the mail or any means, facility, or
instrumentality of interstate or foreign commerce in committing
or in furtherance of the commission of the offense, to wit, ARON
ROSNER participated in a scheme to kidnap two victims in
Woodridge, New York and unlawfully transport the victims to

Mexico.

(Title 18, United States Code, Sections 1201 fa} (1) and 2.}

 
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The bases for my knowledge and for the foregoing charges
are, in part, as follows:

1. I am a Special Agent with the Federal Bureau of
Investigation (*FBI”). I have been a Law enforcement officer
for approximately 14 years, anda Special Agent at the FBI for
approximately one year. I have been personally involved in the
investigation of this matter. This affidavit is based upon my
conversations with law enforcement agents, witnesses and others,
as well as my examination of reports and records. Because this
affidavit is being submitted for the limited purpose of
establishing probable cause, it does not include all the facts
that I have learned during the course of my investigation.
Where the contents of documents and the actions, statements and
conversations of others are reported herein, they are reported
in substance and in part, except where otherwise indicated.

OVERVIEW

2. On or about December 8, 2018, two children, ages
12 and 14, (the “Victims”) were kidnapped from a residence in
the Village of Woodridge, Sullivan County, New York (the
“Raesidence”), where they were staying with their mother (the
“Mother”). Approximately six weeks earlier, the Mother had fled
from an organization in Guatemala called Lev Tahor.

3. Based on my review of publicly available
information, I have learned that Lev Tahor is a group comprised
of ultra-Orthodox Jews mostly living in Guatemala. I have further
reviewed news reports indicating that children in Lev Tahor are
often subject to physical, sexual and emotional abuse.

4. IT have learned from other investigators who have
spoken with the Mother, that the Mother was previously a
voluntary member of Lev Tahor and that her father was its
founder and former leader. According to the Mother, the new
leader of Lev Tahor is more extreme than her father had been,
and, as a result, she fled from the group. The Mother indicated
that it was not safe to keep her children there. Prior to her
escape, the Mother spoke out against the growing extremism
within Lev Tahor.

5, Based on my participation in this investigation,
tT have learned that two of the co-conspirators, ‘*CC-1" and *CCc-
2," are leaders of Lev Tahor. ARON ROSNER, a/k/a “Aaron

 

 
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Rosner,” the defendant, is the brother of cc-2 and the uncle of
another co-conspirator “CC-3." ROSNER, CC-1, cc-2, cc-3 and
others worked together to kidnap the Victims from Woodridge, New
York in an effort to bring them back to the Lev Tahor community
tin Guatemala. The kidnapping required individuals in several
different locations including Guatemala, Mexico and New York to
communicate about the plan before its execution. Upon its
execution, the individuals, now with the Victims, travelled
throughout the United States and into Mexico using a number of
different routes. Among other things, ROSNER, who resides in
Brooklyn, New York and did not travel to Mexico, assisted by
providing financial support to the other co-conspirators and
coordinating communication between the co-conspirators
throughout their travels.

THE KIDNAPPING

6. Based on my conversations with an Investigator
with the Bureau of Criminal Investigation, New York State Police .
(“Investigator-1"), I have learned, in substance and in part,
the following:

a. Investigator-1 reviewed court documents from
Kings County Family Court indicating that on or about November 14,
2018, sole custody of the Victims—one of whom is 14 years old
(*“Victim-1") and the other is 12 years old (*Victim-2")—had been
awarded to the Mother. In addition, Investigator-1 reviewed an Ex
Parte Order of Protection dated November 14, 2018 issued in Kings
County Family Court directing that the Victims’ biological father
(the “Father”) have no contact with the Victims. Finally, on or
about December 13, 2018, Investigator-1 reviewed a video taken on
or about November 14, 2018 showing the Father being served with
the Order of Protection and the paperwork indicating that the
Mother was granted full custody of the Victims.

b. On or about December 8, 2018, Investigator-1
conducted an interview of the Mother, who reported that she and
the Victims, as well as her other children, recently fled from Lev
Tahor. The Mother further reported that two of her children, the
Victims, were taken from the Residence in the early morning of
December 8, 2018 and that they have been missing since.

Cc. Investigator-1 has reviewed video
surveillance footage captured by cameras affixed to the Residence
and informed me that the footage demonstrates that on or about
December 8, 2018, at approximately 2:56 a.m. the Victims left the

 

 

 
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Residence, walked a short distance, and then entered into an
unknown vehicle, which was stopped on the shoulder of the road.

7. Based on my discussions with Investigator-2, who
reviewed rental records from a rental car company (the “Rental Car
Company”) in Brooklyn, New York, T have learned, in substance and
in part, that the Rental Car Company rented a gray Nissan Rogue to
a co-conspirator, “CC-4,” from December 5, 2018 through December
9, 2018. Investigator-2 then spoke with a representative of the
Rental Car Company and learned, in substance and in part, that a
tag with the words “2 piece jacket set” and a bar code was found
in the rented Nissan Rogue. The writing on the tag indicated that
it was connected to a purchase at a retail store (“Retailer-1").

8. Based on my review of a purchase receipt (the
“Receipt”) from Retailer-1, located in Secaucus, New Jersey, t
have learned, in substance and in part, the following:

a. The tag located inside the rented Nissan
Rogue is from a jacket that was purchased on December 6, 2018 at
approximately 9:37 a.m. at Retailer-1l.

b. Further, the jacket was purchased along with
29 other items of clothing.

9, Based on my review of images provided by Retailer-
1 showing each of the items purchased on the Receipt, I have
learned, in substance and in part, that the Receipt revealed chat
the following items were purchased: (i) a grey and white hat with
a red brim and a Superman logo on it (the “Superman Hat"); {ii} a
gray jacket with red and black sleeves (the “Gray Jacket”); and
(iii) a yellow/tan hat with faux fur lining (the “Lined Hat”).

10. Based on my review of surveillance footage from
Retailer-1 and Retailer-1's parking lot, I have learned, in
substance and in part, the following:

a. Two individuals made this purchase of
clothing items at Retailer-1. Both individuals were wearing
traditional Hasidic clothing, including black hats, black suits
and black overcoats.

b. After comparing the footage to photographs of
known co-conspirators, I believe that the individuals are CC-3 and
another known co-conspirator, “*CC-5."

 
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Cc. After the two individuals completed their
purchase, they entered a gray van (the “Gray Van”) and then drove
out of the parking lot. The surveillance footage also clearly
depicts damage to the back bumper and side quarter panel.

11. T have reviewed surveillance footage from an
airport outside Scranton, Pennsylvania (the “Airport Footage”).
The Airport Footage captured a man, a young girl and a young boy
going through airport security. Based on my review of the Airport
Footage, I have learned, in substance and in part, that the young
boy was wearing the Superman Hat and the Gray Jacket, and the man
was wearing the Lined Hat.

12. Based on my experience and discussions with other
law enforcement officers who have been involved in investigations
of Lev Tahor, I know that individuals in Lev Tahor are generaily
not permitted to wear the type of clothing that was purchased at
Retailer-1 or that was depicted in the Airport Footage. As a
result, I believe that the clothing purchased by two of the co-
conspirators at Retailer-1 using the Gray Van on December 6, 2018—
two days before the kidnapping-was purchased so that the Victims
could wear the clothing during the kidnapping and be less likely
to be identified by law enforcement.

13. I have reviewed surveillance footage from a hotel
in Mexico City from December 10, 2018 through December 14, 2018,
im which the 12-year old Victim can be seen with several of the
co-conspirators, including the brother of CC-5, *cc-6."

14, Based on my review of an email account for CC-6, I
have learned, in substance and in part, that the following money
transfers were sent from ARON ROSNER, a/k/a “Aaron Rosner, “ the
defendant, to CC-6, through Google Pay during general timeframe of
the December 8, 2018 kidnapping:

a, $250 on or about December 7, 2018.
b. $620 on or about December 7, 2018.
Cc. $700 on or about December 8, 2018.

d. $900 on or about December 9, 2018.
e. $200 on or about December 9, 2018.

f. $300 on or about December 19, 2018.

 
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g. $580 on or about December 20, 2018.

15. On or about December 23, 2018, ARON ROSNER, a/k/a
“Aaron Rosner,” the defendant, was observed by New York State
Troopers (the “froopers”) driving a vehicle that matched the Gray
Van, including the same damage to the back bumper and side quarter
panel. The Troopers stopped the Gray Van, which was driven by
ROSNER. ROSNER was subsequently arrested based on probable cause
for his participation in the scheme to kidnap the Victims, When
arrested, ROSNER refused to confirm his name with law enforcement.

16. Also on or about December 23, 2018, the Honorable
Lisa Margaret Smith, United States Magistrate Judge for the
Southern District of New York issued a search warrant for four
cellular telephones that were found in the possession of ARON
ROSNER, a/k/a “Aaron Rosner,” the defendant, at the time of his

arrest.

17. I have spoken with a Task Force Officer with the
Federal Bureau of Investigation ("TFO-1") who is a Yiddish speaker
and reviewed messages on the phones seized from ARON ROSNER, a/k/a
“Aaron Rosner,” the defendant.: After speaking with TFO-1 about
his review, I have learned, in substance and in part, the

following:

a. ROSNER organized conference calls with
several co-conspirators over the course of the kidnapping. ROSNER
participated in conversations with co-conspirators about hotels in
Mexico as well as purchases of flights, bus tickets, credit cards

and food.

 

b, On or about December 21, 2018, ROSNER
participated in a discussion about whether individuais were
cooperating with the FBI.

Cc. Also on or about December 21, 2018, ROSNER
participated in a discussion about obtaining passports after
having overstayed in Mexico by putting money into the passport
before handing it over to the person at customs and asking them to

backdate it for you.

 

Imhe Yiddish content on Aron Rosner’s devices has not yet been
formally translated.

 
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WHEREFORE, deponent respectfully requests that
ARON ROSNER, a/k/a “Aaron Rosner,” the defendant, be arrested

and imprisoned or bailed, as the case may be.

JONATH
Special Lee / Yl
Feder Bureau of Investigation

Sworn to before me this
wee December, 20
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. THE | HONORABLE LISA MARGARET SMITH
UNITED ‘STATES "MAGISTRATE JUDGE ~
SOUTHERN DISTRICT OF NEW YORK

 

 
